Case 9:18-cv-80086-DMM Document 11-2 Entered on FLSD Docket 02/05/2018 Page 1 of 4



                            UNITED STATES DISTRICT COURT
                            SOUTHERN DISTRICT OF FLORIDA
                                       WEST PALM BEACH DIVISION

                                   Civil Action No. 9:18-cv-80086-DMM

   CHARLES WILDES, individually; FRANCISCO DORIA, individually;
   AKIVA KATZ, individually; JAMES GURRY, individually;
   RONALD NELSON, individually; and JUSTIN PERRY, individually;
   and on behalf of All Others Similarly Situated;
           Plaintiffs,
   v.
   BITCONNECT INTERNATIONAL PLC, a foreign corporation;
   BITCONNECT LTD., a foreign corporation;
   BITCONNECT TRADING LTD., a foreign corporation;
   JOSHUA JEPPESEN, an individual; GLENN ARCARO, an individual;
   TREVON BROWN a/k/a TREVON JAMES, an individual;
   RYAN HILDRETH, an individual; CRAIG GRANT, an individual;
   JOHN DOE NO. 1 a/k/a NICHOLAS TROVATO a/k/a CRYPTONICK, an individual;
   RYAN MAASEN, an individual; and JOHN DOE NOS. 2-10, individuals;
         Defendants.
   ________________________________________________/

                   ORDER GRANTING TEMPORARY RESTRAINING ORDER

           This matter is before the Court on Plaintiffs’ Motion for Temporary Restraining Order (the

   “Motion”). [Docket Entry No. 11]. Under Federal Rule of Civil Procedure 65, a Court may grant a

   Temporary Restraining Order ex parte. As required by the Rule, specific facts in the form of an affidavit

   or Verified Complaint must demonstrate an “immediate and irreparable injury, loss, or damage will

   result to movant before the adverse party can be heard in opposition,” and the attorney for the movant

   must certify in writing any efforts made to provide notice to the adverse party. See, Fed.R.Civ.P.

   65(b)(1). Any Order issued without notice to the adverse party must state “the date and hour it was

   issued; describe the injury and state why it is irreparable; state why the Order was issued without notice

   and be promptly filed in the Clerk’s Office and entered in the record. The Order expires at a time

   after entry -- not to exceed fourteen (14) days.” Id. at (b)(2).
Case 9:18-cv-80086-DMM Document 11-2 Entered on FLSD Docket 02/05/2018 Page 2 of 4
                                                                              Civil Action No. 9:18-cv-80086-DMM


           In evaluating the Motion, this Court has considered the following factors: (1) whether the

   movant has a strong likelihood of success on the merits of its claims; (2) whether the movant would

   suffer irreparable injury absent a restraining order; (3) whether granting the restraining order to the

   movant outweighs the possible harm to the non-movants; (4) whether the movant has available to it

   an adequate remedy at law; and (5) whether the public interest would be served by granting the

   restraining order. City of Miami Beach v. Kuoni Destination Mgmt., Inc., 81 So. 3d 530, 532 (Fla. 3d DCA

   2012); see also Siegel v. LePore, 234 F.3d 1163, 1179 (11th Cir. 2000), cert. denied, 531 U.S. 1005, 121 S. Ct.

   510, 148 L. Ed. 2d 478 (2000) (citations omitted). Having reviewed the Motion, the file, and being

   otherwise sufficiently advised in the premises, the Court hereby finds as follows:

           1.       Plaintiffs and the Class have shown a strong likelihood of success on the merits of

   their claims for: (1) violations of federal securities laws, (2) violation of Florida securities laws, (3)

   violation of Florida’s Deceptive and Unfair Trade Practices Act, and (4) multiple common law claims,

   including rescission of contract, fraudulent inducement, fraudulent misrepresentation, negligent

   misrepresentation, conversion, and civil conspiracy.

           2.       Plaintiffs have established in their Motion and the Declaration in support thereof that

   the rights of Plaintiffs and the Class will be immediately and irreparably harmed absent a Temporary

   Restraining Order from this Court. Without entry of the Temporary Restraining Order, Plaintiffs may

   be unable to recover for their equitable claims.

           3.       The balance of hardships also favors Plaintiffs and the Class, because a Temporary

   Restraining Order would preserve the status quo ante and prevent irreparable harm until such time as

   the Court may hold a hearing.

           4.       Entry of a Temporary Restraining Order is in the public interest, because the public is

   interested in preventing massive consumer fraud and other securities violations, as described in the

   Amended Class Action Complaint. Moreover, entering a Temporary Restraining Order would serve




                                                        -2-
Case 9:18-cv-80086-DMM Document 11-2 Entered on FLSD Docket 02/05/2018 Page 3 of 4
                                                                           Civil Action No. 9:18-cv-80086-DMM


   the public interest by preserving and stabilizing the worldwide use of cryptocurrencies and by

   promoting the objectives of the Financial Crimes Enforcement Network [FinCEN] (a division of the

   U.S. Department of the Treasury) by providing assurance that courts will protect investors’ assets

   from theft and will aid investors in their recovery of stolen assets when they can be readily located and

   traced to specific locations.

             5.     Because of the apparent strength of Plaintiffs’ case, the Court concludes that requiring

   security pursuant to Fed.R.Civ.P. 65(c) is not appropriate in this case at this time.

             Accordingly, IT IS HEREBY ORDERED AND ADJUDGED that:

             1.     Plaintiffs’ Motion for Temporary Restraining Order is GRANTED.

             2.     Within ten (10) days of the entry of this Order, Defendants BITCONNECT

   INTERNATIONAL PLC, a foreign corporation; BITCONNECT LTD., a foreign corporation;

   BITCONNECT TRADING LTD., a foreign corporation (the business entities collectively referred

   to herein as “BITCONNECT”); JOSHUA JEPPESEN, an individual; GLENN ARCARO, an

   individual; TREVON BROWN a/k/a TREVON JAMES, an individual (“TREVON JAMES”);

   RYAN HILDRETH, an individual; CRAIG GRANT, an individual; JOHN DOE NO. 1 a/k/a

   NICHOLAS TROVATO a/k/a CRYPTONICK, an individual (“CRYPTONICK”); and RYAN

   MAASEN, an individual (collectively referred to as “Defendants”) shall disclose to the Court and

   Plaintiffs’ counsel: (a) all bitcoin and other cryptocurrency wallet addresses they maintain or control,

   (b) all cryptocurrency trading account addresses they maintain or control; and (c) the identity of the

   holder/owner of any wallet or cryptocurrency address to which Defendants have transferred any

   bitcoin or other cryptocurrency in the past ninety (90) days, so that those assets can be monitored and

   traced.

             3.     Defendants are hereby forbidden from moving any assets unless specifically allowed

   by this Court.




                                                      -3-
Case 9:18-cv-80086-DMM Document 11-2 Entered on FLSD Docket 02/05/2018 Page 4 of 4
                                                                    Civil Action No. 9:18-cv-80086-DMM


          4.      The requirement under Fed.R.Civ.P. 65(c) that security be posted by Plaintiffs is

   waived for now.

          5.      The Temporary Restraining Order will expire fourteen (14) days from its entry in

   accordance with Fed.R.Civ.P. 65(b)(2).



          DONE and ORDERED in Chambers in West Palm Beach, Palm Beach County, Florida, this

   _______ day of February 2018 at _____:_______ a.m./p.m. EST.



                                                       ____________________________________
                                                       JUDGE, U.S DISTRICT COURT
                                                       SOUTHERN DISTRICT OF FLORIDA




                                                 -4-
